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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   DELROY A. CHAMBERS, JR.,

          Plaintiff,

   v.

   ALBERTO FAUR, doing business as
   EFA REALTY,

         Defendant.
   _________________________________________/

                                 SUMMONS IN A CIVIL ACTION

   TO:    ALBERTO FAUR, doing business as EFA REALTY
          12550 Biscayne Blvd.
          Suite 407
          North Miami, FL 33181

   A lawsuit has been filed against you. Within 21 days after service of this summons on you (not
   counting the day you received it) — or 60 days if you are the United States or a United States
   agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or
   (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under
   Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
   plaintiff or plaintiff’s attorney, whose name and address are:

                                 Joshua A. Glickman, Esq., josh@sjlawcollective.com
                                 Shawn A. Heller, Esq., shawn@sjlawcollective.com
                                 Social Justice Law Collective, PL
                                 974 Howard Ave., Dunedin, FL 34698

   If you fail to respond, judgment by default will be entered against you for the relief demanded in
   the complaint. You also must file your answer or motion with the court.

                                                               CLERK OF COURT



   Date:______________________                                 ______________________________
                                                               Signature of Clerk or Deputy Clerk
